Case 10-12431-1-rel Doc 47-6 Filed 05/19/11 Entered 05/19/11 14:31:21   Desc
                Gerald M. LaPorte Curriculum Vitae Page 1 of 7
Case 10-12431-1-rel Doc 47-6 Filed 05/19/11 Entered 05/19/11 14:31:21   Desc
                Gerald M. LaPorte Curriculum Vitae Page 2 of 7
Case 10-12431-1-rel Doc 47-6 Filed 05/19/11 Entered 05/19/11 14:31:21   Desc
                Gerald M. LaPorte Curriculum Vitae Page 3 of 7
Case 10-12431-1-rel Doc 47-6 Filed 05/19/11 Entered 05/19/11 14:31:21   Desc
                Gerald M. LaPorte Curriculum Vitae Page 4 of 7
Case 10-12431-1-rel Doc 47-6 Filed 05/19/11 Entered 05/19/11 14:31:21   Desc
                Gerald M. LaPorte Curriculum Vitae Page 5 of 7
Case 10-12431-1-rel Doc 47-6 Filed 05/19/11 Entered 05/19/11 14:31:21   Desc
                Gerald M. LaPorte Curriculum Vitae Page 6 of 7
Case 10-12431-1-rel Doc 47-6 Filed 05/19/11 Entered 05/19/11 14:31:21   Desc
                Gerald M. LaPorte Curriculum Vitae Page 7 of 7
